
Beer, J.
It is contended by plaintiff in error that the order complained of was made under section 5417 Rev. Stat., and that that section only authorizes one new appraisement to be made.
Counsel for defendant in error claim that the order for a new appraisement can be made, and was made, under section 5416. When it is answered that that section applies to cases in which property is offered for sale upon an execution, we are referred to section 5373, which declares that:
“ Executions are of three kinds :
“ 1. Against the property of the judgment debtor, including orders of sale.
*64“2.. Against the person of the judgment debtor.
“ 3. For the delivery of the possession of real property.”
Hence it is claimed that as an order of sale is an execution, it is included in section 5416, and the remedies therein provided apply to orders of sale as well as to executions at law, and in support of this position counsel cite the case of Bell v. Duduit, 40 Ohio St. 330, which decides that:
“When an assignee has commenced to sell the realty of the assignor under section 6351 Rev. Stat., the provisions of section 5416 apply' to subsequent proceedings to sell under the decrees therein made.”
As the assignee disposes of the realty of the assignor upon an order of sale, it is argued that if such an order of sale falls within the provisions of section 5416, every other order of sale, being an execution under section 5373, falls within the same section 5416. It is a sufficient answer to this that special provision is made by section 6350 that sales of property by an assignee “ shall be made at not less than two-thirds of the appraised value thereof, being subject to re-appraisement, as upon executions at law ” — the kind of executions embraced within the provisions of section 5416.
Hence the case of Bell v. Duduit does not support the claim made by counsel for defendant in error.
In cases in partition where the property is ordered to be sold, an order of sale issues to the sheriff, commanding him to sell the real estate which is the subject of the action, but it is not to be appraised as upon an execution at law ; for it has already been appraised by the commissioners appointed by the court. When once offered and not sold, the court, under section 5768, “ may order a re-valuation by three judicious and disinterested freeholders appointed by the court, or may order a sale without such re-valuation, at not less than such sum as it may fix.” In such cases the order of sale may be an execution within the definition of sections 5372 and 5373, but it is not an execution within the purview of section 5416.
Turning now to section 5416, what are its provisions? *65That, “ when real estate, taken on execution, and appraised and twice offered for sale, remains unsold for want of bidders,” etc. It covers eases in which real estate is taken on execution, and appraised. Property sold in foreclosure proceedings is not taken on execution.
But it is claimed that as an order of sale, as defined by section 5373, is an execution, it must be subject to the provisions of section 5416, as regards • re-appraisement, for the reason, that to hold otherwise, the defendant in error would be without remedy. Such claim would sound better in the legislature than in court. The court can only assist parties in obtaining the remedies provided by the legislature. Another difficulty in the way of the relief granted by the court of common pleas, if we hold it to have been granted, as claimed, under section 5416, is that it sets aside the last appraisement, leaving the direction to sell at $8,500 in full' force. Clearly, the defendant in error is not entitled to two prices, the one directed by the court, and the other fixed by appraisement for the sale of the property.
We are of the opinion, however, that the order now complained of, was made under section 5417, and not under section 5416.
It is claimed by the plaintiff in error, that but one new appraisement can be ordered under section 5417, and hence, that the court of common pleas erred in granting the last order to re-appraise.
In the chapter upon executions (Rev. Stat.) there is no provision for an appraisement in foreclosure proceedings; but in that chapter, section 5417 provides for a new appraisement. The section last named is a part of section 374 of the code of civil procedure as amended, 67 Ohio L. 114, which reads :
“ Sec. 5. That section three hundred and seventy-four of the. code of civil procedure as amended by act of March 29, 1859, be amended so as to read as follows : Sec. 374. In the foreclosure of a mortgage, the sale of the mortgaged premises shall in all cases be ordered; and when the mortgage foreclosed em*66braces an entire tract ofland, or separate tracts ofland situated in two or more counties in the state, the sheriff of each county in which such separate tract or tracts of lands are situated, shall be ordered to make sale of the land situated in the county of which he is the sheriff, unless in the opinion of the court ordering the sale, the circumstances of the case, or the interests of the parties shall appear to require the sale to be made by a single officer, in which case the said court may order the sale to be made by the sheriff of either county in which any part of the mortgaged premises may be situated, or by a master commissioner ; and the court may order the lands to be sold entire or in parcels, as the interests of the parties may require; and in .such cases the mortgaged premises shall be appraised by three disinterested freeholders of either or any of the counties in which said lands may be situated, and notice of the sale shall be given by advertisement in such of said counties as is required in the case of the" sale'of real estate on execution; and the court may, in the order of sale, or on confirmation of the sale, make such order touching the distribution of the proceeds of sale, as may be necessary to protect and preserve the relative rights and privileges of all lienholders on such premises or on the several parcels thereof. And in all cases where said lands, or any parcels thereof, have been, or may hereafter be twice advertised and offered for sale, and shall remain unsold for want of bidders, and the court being satisfied thereof, it shall be the duty of the court from which the order of sale issued, on motion of the plaintiff or defendant at the time of ordering such new appraisement, also to order that said land be sold on time as follows: One-third cash in hand, one-third in nine months from the day of sale, and the remaining third in eighteen months from day of sale, the deferred payments to draw six per cent, interest, and to be secured by mortgage on the premises.”
It will be noticed that the latter part of section 374 constitutes section 5417, Rev. Stat. The other part of that section forms sections 5316 and 5317, Rev. Stat. Under these seve*67ral sections provision is made for the appraisement and re-appraisement of mortgaged,property. In foreclosure proceedings, is provision made for more than one re-appraisement? There can he no question but that real estate taken on execution may be appraised at] least three times under section 5416. The first part of that section reads as follows : “ When real estate, taken on execution, and appraised, and twice advertised and offered for sale, remains unsold for want of bidders, the court from w'hich the execution issued shall, on motion of the plaintiff, set aside such appraisement, and order a new appraisement to be made.”
C. A. Phelps, for plaintiff in error.
. I. F. Barrett and Burhet &amp; Burhet, for defendant in error.
The first part of section 5417, reads: “ When promises are ordered to be sold, and having been twice advertised and offered for sale, remain unsold for want of bidders, the court from which the order of sale issued shall, on motion of the plaintiff or defendant, order a new appraisement.”
It will be seen that the language is the same in both sections. If any number of re-appraisements may be ordered under section 5416, it would appear to follow that any number may be’ordered under section 5417. The only difference between the sections being, that under section 5416 the court may direct the amount for which the premises may be sold, and under section 5417 may order a sale on time.
It follows that unless the order previously made, directing a sale at $8,500, was in the way, the court did not err in ordering the re-appraisement complained of. If we are correct in holding that the provisions of section 5416 do not apply to orders of sale in proceedings to foreclose a mortgage, it would follow, that as the order directing a sale at $8,500 was made under that section, the court exceeded its power in making it, and, hence, it is a nullity, and the case stands as though no such order had ever been made. It follows that there is no error in the record, and the judgment of the court of common pleas will be affirmed.
